                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-7 Filed 11/06/20 Page 1 of 11
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                                                                                          10

                                                                                          11                              EIGHTH JUDICIAL DISTRICT COURT

                                                                                          12                                      CLARK COUNTY, NEVADA
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   CIARA WILLIAMS,                                          Case No.: A-18-784031-C
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                                                                                        Dept. No.: IV
                                                                                          14                         Plaintiff,
                                                                                          15   vs.                                                         DEFENDANT TOPGOLF USA LAS
                                                                                          16                                                            VEGAS, LLC’S REPLY IN SUPPORT OF
                                                                                               SILVINO HINOJOSA, AND TOPGOLF USA                        ITS MOTION TO DISMISS PLAINTIFF’S
                                                                                          17   LAS VEGAS, LLC, DOES 1 through X,                              AMENDED COMPLAINT
                                                                                               inclusive AND ROES through X, inclusive,
                                                                                          18                                                            Hearing Date: May 28, 2019
                                                                                                                    Defendants.                         Hearing Time: 9:00 .am.
                                                                                          19

                                                                                          20   SILVINO HINOJOSA,
                                                                                          21                         Counter-Plaintiff,
                                                                                          22
                                                                                               vs.
                                                                                          23
                                                                                               CIARA WILLIAMS,
                                                                                          24

                                                                                          25                         Counter-Defendant.

                                                                                          26          Defendant TopGolf USA Las Vegas, LLC (“TopGolf”), by and through its counsel of
                                                                                          27   record, files its Reply in support of its Motion to Dismiss Plaintiff Ciara Williams’ (“Plaintiff”)
                                                                                          28   Amended Complaint.

                                                                                                                                                    1

                                                                                                                                  Case Number: A-18-784031-C
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                                                                                           1                        MEMORANDUM OF POINTS AND AUTHORITIES

                                                                                           2   I.     INTRODUCTION

                                                                                           3          Plaintiff’s Opposition concedes that the alleged conduct giving rise to Plaintiff’s claims

                                                                                           4   arose out of and in the course of her employment with TopGolf. Despite this concession, in a futile

                                                                                           5   attempt to avoid preemption by the Nevada Industrial Insurance Act (“NIIA”), Plaintiff scrambles

                                                                                           6   to redefine the terms of the NIIA in a manner that she believes will allow her claims to survive

                                                                                           7   dismissal.1 In doing so, Plaintiff ignores a significant amount of statutory and case law, and

                                                                                           8   misconstrues and misapplies what little law she does offer in support of her patchwork argument.

                                                                                           9   The NIIA was set up to prevent the Court from being bombarded with personal injury actions

                                                                                          10   brought by employees against their employers. Here, Plaintiff fails to allege sufficient facts that, if
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                                                                                          11   true, would establish that her claims fall outside of the NIIA’s coverage. Plaintiff’s employment,

                                                                                          12   her claims and her alleged injuries are inexorably intertwined in the salacious story she tells the
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                                                                                          13   Court: she was injured while working when co-Defendant Silvino Hinojosa (“Hinojosa”), her
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                                                                                               supervisor, inter alia, allegedly sexually assaulted her. Consequently, Plaintiff’s own allegations
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                                                                                          14

                                                                                          15   underscore the conclusion that her tort claims are preempted by the NIIA. See Wood v. Safeway,

                                                                                          16   121 Nev. 724, 121 P.3d 1026 (2005). When Plaintiff’s distortion of the law is put aside and the

                                                                                          17   NIIA is viewed in its entirety with the clarification of long-standing Nevada precedent, it is clear

                                                                                          18   that Plaintiff’s claims are, in fact, covered by the NIIA, and that all seven of her common law

                                                                                          19   claims are preempted and must be dismissed.

                                                                                          20          Plaintiff’s inventive interpretation of the case law does not undermine, much less render

                                                                                          21   inapplicable, the protections afforded to TopGolf by NRS 41.745 as it relates to the intentional

                                                                                          22   torts set forth in the Amended Complaint. Again, once correctly analyzed and applied to the facts

                                                                                          23   set forth in the Amended Complaint, there is no question that NRS 41.745 mandates Plaintiff’s

                                                                                          24

                                                                                          25

                                                                                          26   1 Plaintiff repeatedly uses the acronym “SIIS” throughout her Opposition; however it can only be
                                                                                          27   assumed she is referencing NIIA. Prior to 2001, Nevada’s workers compensation coverage was
                                                                                               provided by a government-run program, the State Industrial Insurance System (“SIIS”), which was
                                                                                          28   also known as the Employer’s Insurance Company of Nevada. SIIS has been discontinued for over
                                                                                               18 years and is not relevant to any fact or argument in TopGolf’s Motion.

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                                                                                           1   Assault, Battery, False Imprisonment and Intentional Infliction of Emotional Distress (“IIED”)

                                                                                           2   claims be dismissed.

                                                                                           3          In an attempt to stave off dismissal, Plaintiff seeks leave to amend to include Title VII

                                                                                           4   claims for harassment and discrimination.      Neither leave to amend, nor the addition of the

                                                                                           5   proposed Title VII claims, would change the outcome for the NIIA pre-empted claims, which

                                                                                           6   would still be subject to dismissal as a matter of law. As for the Title VII claims, the same could

                                                                                           7   only be included in an amended pleading if Plaintiff is able to establish she timely exhausted her

                                                                                           8   administrative remedies with respect to the same. But the Opposition completely and utterly fails

                                                                                           9   to do so, depriving the Court of any ability to decide whether leave to amend is even appropriate.

                                                                                          10          For these reasons, and as discussed more fully herein, TopGolf respectfully requests the
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                                                                                          11   Court dismiss Plaintiff’s Amended Complaint in its entirety.

                                                                                          12   II.    DISCUSSION
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                                                                                          13          A.      Plaintiff’s Claims Are Covered by the NIIA, Subjecting Them to Dismissal
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                                                                                          14          In the Opposition, Plaintiff argues that her claims of (1) Assault; (2) Battery; (3) False

                                                                                          15   Imprisonment; (4) Gross Negligence; (5) Negligent Supervision and Retention; (6) Negligent

                                                                                          16   Infliction of Emotional Distress; and (7) IIED are not preempted by the NIIA because her alleged

                                                                                          17   injuries did not occur “by accident” as that term is defined in the NIIA.2          (See Plaintiff’s

                                                                                          18   Opposition, 7:11-12.) However, in arguing that Plaintiff’s allegations do not meet this definition,

                                                                                          19   Plaintiff has ignored other provisions of the NIIA, as well as in some cases, misconstrued and

                                                                                          20   misapplied case law interpreting the NIIA’s definition of accident, including cases which hold that

                                                                                          21   acts strikingly similar to those alleged in Plaintiff’s Amended Complaint have been categorically

                                                                                          22   classified as accidents and therefore subject to the exclusive remedy provisions of the NIIA.

                                                                                          23          Plaintiff primarily argues that the alleged conduct which led to her injuries was not

                                                                                          24   “unexpected or unforeseen” because when she warned TopGolf of the alleged conduct it was no

                                                                                          25   longer unforeseeable that such conduct might occur in the future. Time and time again, the Nevada

                                                                                          26
                                                                                          27   2 The statute defines an accident as “an unexpected or unforeseen event happening suddenly and
                                                                                               violently, with or without human fault, and producing at the time objective symptoms of an
                                                                                          28   injury.” NRS 616A.030.

                                                                                                                                                3
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                                                                                           1   Supreme Court has dismissed this argument, holding that an injury caused by a risk of harm known

                                                                                           2   to the employer, even where the risk of harm is the intentional conduct of another employee, is an

                                                                                           3   injury by accident and subject to the exclusive remedies provision of the NIIA. See Kennecott

                                                                                           4   Copper Corp. v. Reyes, 337 P.2d 624, 626 (Nev. 1959) (intentional tort claims preempted by NIIA

                                                                                           5   where employer knew a dangerous condition existed and foresaw and expected the harm that did

                                                                                           6   occur would occur at some point in the future). The decision in Cummings v. United Resort

                                                                                           7   Hotels, Inc., 449 P.2d 245 (Nev. 1969) is even more compelling, notwithstanding Plaintiff’s

                                                                                           8   attempts to distinguish it. (See Opposition, 8:10-14.) In Cummings, the Nevada Supreme Court

                                                                                           9   held the tort claims asserted against the employer for the death of one employee, who was stabbed

                                                                                          10   by another employee, were preempted by the exclusive remedies provisions of the NIIA even
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                                                                                          11   though the employer knew the attacker had a propensity for violence. Id., at 246 and 249. This is

                                                                                          12   because an employer’s actual or constructive knowledge of an employee’s propensity to commit
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                                                                                          13   violence or cause harm, in and of itself, does not bar the application of the exclusive remedies of
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                                                                                          14   the NIIA. A plaintiff must show the employer specifically intended to cause them harm.

                                                                                          15          Plaintiff proceeds to mischaracterize a non-binding case from California, McGee v.

                                                                                          16   McNally, 119 Cal.App.3d 891, 174 Cal.Rptr. 253 (1981)3, when she argues in her Opposition that

                                                                                          17   TopGolf “ratified” and “adopted” the intentional acts of Hinojosa and, thus, is liable for those

                                                                                          18   intentional acts, which is an exception to the exclusive remedies of the NIIA. (Opposition, 7:20-

                                                                                          19   8:4.) McGee did not explore, discuss or even imply that an employer is liable for the intentional

                                                                                          20   acts of his employee when the employer “ratifies” the employee’s conduct. See id. In McGee, an

                                                                                          21   employee filed an action against his employer for intentional infliction of emotional distress,

                                                                                          22   claiming he was a victim of harassment. Id., 119 Cal.App.3d at 894. The Court of Appeals of

                                                                                          23   California agreed that his emotional distress claim was not barred by California’s workers’

                                                                                          24   compensation scheme, but did so applying the California Labor Code § 3601. Id. Even if Plaintiff

                                                                                          25

                                                                                          26
                                                                                               3 Plaintiff also mis-cites and completely misquotes McGee v. McNally, 119 Cal.App.3d 891, 174
                                                                                          27
                                                                                               Cal.Rptr. 253 (1981). The quote used and relied upon in her Opposition is nowhere to be found in
                                                                                          28   the case as quoted.


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                                                                                           1   had not misrepresented McNally, it is wholly inapplicable to this Nevada case, asserting Nevada

                                                                                           2   tort claims that, as a matter of Nevada Supreme Court precedent, are barred by the NIIA.

                                                                                           3          Plaintiff fails to successfully distinguish the bevy of case law that supports TopGolf’s legal

                                                                                           4   position, consistently misconstruing the same. In fact, most of the cases cited by Plaintiff, and

                                                                                           5   previously by TopGolf, clarify that the NIIA’s definition of accident is to be construed broadly and

                                                                                           6   that the only time an injury arising out of and in the course of employment will not be considered

                                                                                           7   an injury because of an accident is where the employer deliberately and specifically intended to

                                                                                           8   harm the employee. See Conway v. Circus Circus Casino, 870 P.3d 837, 839-841 (Nev. 2000)

                                                                                           9   (granting motion to dismiss plaintiffs’ IIED and battery claims as preempted by NIIA because

                                                                                          10   complaint did not contain any facts indicating the employer specifically intended to harm
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                                                                                          11   plaintiffs); Kennecott, 337 P.2d at 626 (any injury resulting from any degree of negligence by the

                                                                                          12   employer compensable exclusively through NIIA); see also King v. Penrod Drilling Co., 652 F.
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                                                                                          13   Supp. 1331, 1334 (D. Nev. 1987) (holding that common law actions cannot be brought by an
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                                                                                          14   employee against an employer for personal injuries unless the employer acted with deliberate

                                                                                          15   intent to harm the employee). Thus, even where an employer is aware of a risk, acts with

                                                                                          16   negligence, wanton or gross negligence or is utterly reckless with regard to that risk, an injury

                                                                                          17   suffered by an employee as a result of that risk is considered an accidental injury and is subject to

                                                                                          18   the exclusive remedy provision of the NIIA.

                                                                                          19          In this case, the Plaintiff failed to allege that TopGolf acted with deliberate and specific

                                                                                          20   intent to injure her. An employee must provide facts in her complaint which show the deliberate

                                                                                          21   intent to bring about the injury. See Hay v. Hay, 100 Nev. 196, 198, 678 P.2d 672, 674 (1984)

                                                                                          22   ("[a] complaint must set forth sufficient facts to establish all necessary elements of a claim for

                                                                                          23   relief"). Plaintiff’s Amended Complaint simply does not allege that TopGolf specifically intended

                                                                                          24   to cause her harm. She alleges that she notified TopGolf that Hinojosa was sexually harassing her

                                                                                          25   and TopGolf did nothing to intervene or protect her. (Amended Complaint, ¶¶ 14, 16.) Plaintiff

                                                                                          26   further alleges that TopGolf “had a duty to keep its workplace safe, its employees free from

                                                                                          27   harassment, and to report serious crimes of violence against its employees.” (Amended Complaint,

                                                                                          28   ¶ 58.) At most, Plaintiff’s allegations against TopGolf are founded in negligence, not in deliberate


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                                                                                           1   intent to injure Plaintiff. Plaintiff must do more than merely make conclusory allegations and

                                                                                           2   baldly label TopGolf’s conduct as intentional in order to avoid application of the NIIA. See

                                                                                           3   Conway, 8 P.3d at 840. Thus, because Plaintiff conceded that her injuries arose out of and

                                                                                           4   occurred during her employment, but has not accurately pled, and cannot in good faith plead, any

                                                                                           5   facts demonstrating that TopGolf specifically intended to harm her, her injuries necessarily fall

                                                                                           6   within the NIIA definition of accident and, therefore, each of her common law claims are

                                                                                           7   preempted by the NIIA and must be dismissed.

                                                                                           8          Finally, Plaintiff argues that Wood v. Safeway, 121 P.3d 1026 (Nev. 2005) and other cases

                                                                                           9   cited in TopGolf’s Motion are distinguishable from this case because TopGolf, unlike the Wood

                                                                                          10   defendant, knew that an injury was foreseeable. However, as discussed above, it is clear that Wood
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                                                                                          11   does apply and is instructive here. In Wood, the Nevada Supreme Court unequivocally held that

                                                                                          12   common law claims, including a claim for negligent supervision against an employer for injuries
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                                                                                          13   caused by an intentional sexual assault by a co-employee that arose out of and in the course of the
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                                                                                               plaintiff’s employment, were preempted by the NIIA. 121 P.3d at 1034. The Nevada Supreme
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                                                                                          14

                                                                                          15   Court has also held that common law assault, battery and IIED claims seeking redress for injuries

                                                                                          16   covered by the NIIA, such as those alleged by Plaintiff, are preempted by the NIIA. See Conway,

                                                                                          17   8 P.3d at 841 (in the absence of intentional conduct carried out by the employer with the specific

                                                                                          18   intent to cause the employee’s alleged injury, the NIIA provides the sole remedy). Applied here, it

                                                                                          19   is clear that Wood and Conway require this Court to dismiss Plaintiff’s Assault, Battery, False

                                                                                          20   Imprisonment, Gross Negligence, Negligent Supervision and Retention, Negligent Infliction of

                                                                                          21   Emotional Distress, and IIED claims because the NIIA provides the sole remedy for injuries, such

                                                                                          22   as Plaintiff’s, that arose out of and in the course of employment.

                                                                                          23          B.      Plaintiff’s Opposition Misconstrues and Misapplies NRS 41.745

                                                                                          24          NRS 41.745 exempts an employer from liability for an employee’s intentional conduct

                                                                                          25   when such conduct was: 1) a truly independent venture; 2) was not committed in the very course of

                                                                                          26   the task assigned to the employee; and 3) the intentional conduct was not reasonably foreseeable

                                                                                          27   considering the nature and scope of the employee’s employment. In arguing that Hinojosa’s

                                                                                          28   conduct does not meet any of the three criterion required to avoid employer liability, Plaintiff’s


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                                                                                           1   Opposition construes the three requirements so broadly - without any legal support - so as to

                                                                                           2   completely undermine the purpose of the statute. An accurate reading of the statute exposes the

                                                                                           3   fallacy of Plaintiff’s argument and confirms TopGolf cannot be held liable for Hinojosa’s alleged

                                                                                           4   conduct.

                                                                                           5          Plaintiff suggests that an employee is never engaged in an independent venture if the

                                                                                           6   alleged conduct occurred at work or while the employee was on duty. (Opposition, 9:15-17.)

                                                                                           7   Where the complained of conduct takes place does not matter; the pivotal question to the NRS

                                                                                           8   41.745 question is, was the employee doing something in furtherance of his interests, or that of his

                                                                                           9   employer? According to the Nevada Supreme Court, an employee engages in “a truly independent

                                                                                          10   venture” when the employee’s actions were not taken on behalf of the employer, did not serve the
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                                                                                          11   purpose of furthering the employer’s business interest, or were not carried out based upon any

                                                                                          12   sense of duty owed to the employer. Wood, 121 P.3d 1035 (finding employer not liable for sexual
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                                                                                          13   assault when employee was not acting on behalf of employer or out of duty to employer and did
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                                                                                          14   not commit the assault in the course of the tasks assigned to him). In other words, under NRS

                                                                                          15   41.745, when the alleged action is motivated by, or promoted solely by personal interests and not

                                                                                          16   the interests of the employer, the employee is engaged in an independent venture for which an

                                                                                          17   employer cannot be held liable. See Lopez v. United Parcel Services, Inc., 2009 WL 1422228, *7

                                                                                          18   (D. Nev. March 12, 2009) (finding employer was not liable for assault because it did not employ a

                                                                                          19   delivery driver to threaten or assault anyone and the driver was not furthering any business of his

                                                                                          20   employer when he threatened and assaulted another employee.). See also, Chapman v. City of

                                                                                          21   Reno, 455 P.2d 618, 621 (Nev. 1969) (dismissing intentional tort against employer because the

                                                                                          22   alleged conduct was not a prescribed duty of a police officer); J.C. Penney Co. v. Gravelle, 155

                                                                                          23   P.2d 477, 481-82 (Nev. 1945) (dismissing assault claim against employer where security guard

                                                                                          24   assaulted witness of theft, noting that employer was engaged in personal pursuit unrelated to his

                                                                                          25   duties to the company as he was “not employed to commit an assault and battery”).

                                                                                          26          Here, there is no question that the alleged conduct of Hinojosa was a truly independent

                                                                                          27   venture. The alleged conduct certainly did not further TopGolf’s business interests, nor was such

                                                                                          28   conduct carried out on the behalf of or based upon any sense of duty to TopGolf. Quite to the


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                                                                                           1   contrary, Hinojosa had a duty to TopGolf not to engage in such conduct. TopGolf did not employ

                                                                                           2   Hinojosa to allegedly batter, assault, imprison, abuse, or harass employees. There is no way that

                                                                                           3   any of the complained of actions of Hinojosa can be related directly or indirectly to any duty he

                                                                                           4   may have had as a sous chef. Accordingly, to the extent such alleged conduct occurred, it was

                                                                                           5   based upon Hinojosa’s purely personal motives and served only his own interests.

                                                                                           6          Second, contrary to Plaintiff’s view of the statute, it is not enough that an employee’s

                                                                                           7   conduct occurred during employment in order for an employer to be held liable under NRS 41.745.

                                                                                           8   The conduct must be committed in the course of the very task assigned to the employee. This

                                                                                           9   language has been narrowly interpreted to mean that the harmful conduct must arise directly out of

                                                                                          10   the employee’s assigned tasks such that in the course of performing those tasks the resulting injury
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                                                                                          11   would be expected given the nature of the task. See Wood, 121 P.3d at 1036; Gravelle, 155 P.2d at

                                                                                          12   481-82. Again, Wood is on point in this case. In Wood, the Court held that a janitor’s repeated
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                                                                                          13   sexual assaults of a vulnerable employee which occurred while both parties were carrying out their
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                                                                                          14   duties - duties which provided isolation and a unique opportunity to commit the assault - were not

                                                                                          15   carried out in the very course of the offending employee’s duties because such conduct was outside

                                                                                          16   the scope of his assigned duties. Wood, 121 P.3d at 1036. In analyzing liability under NRS

                                                                                          17   41.745, it is not enough that the employee’s duties provide, or his authority creates, an opportunity

                                                                                          18   to commit an intentional tort. Instead, the conduct must truly occur within the scope of the

                                                                                          19   offender’s assigned tasks. See id. As was the case in Wood, although Hinojosa was given tasks

                                                                                          20   and occupied a position of authority, any alleged unlawful assault, battery, and false imprisonment

                                                                                          21   necessarily occurred outside the scope of his tasks as a sous chef and/or kitchen supervisor and,

                                                                                          22   therefore, TopGolf cannot be held liable for such conduct.

                                                                                          23          Third, Plaintiff has also misconstrued the “foreseeability” requirement of NRS 41.745 by

                                                                                          24   ignoring the language of the statute and reading this section of the statute in isolation. NRS 41.745

                                                                                          25   requires courts to consider whether an employee’s action was “reasonably foreseeable under the

                                                                                          26   facts and circumstances of the case considering the nature and scope of his employment”

                                                                                          27   (emphasis added). NRS 41.745(1)(c). Thus, the appropriate inquiry is whether the risk was one

                                                                                          28   that may be fairly regarded as typical of or broadly incidental to the employer’s business or the


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                                                                                           1   employee’s assigned tasks. Wood, 121 P.3d at 1036 (citations omitted). Here, a person of ordinary

                                                                                           2   intelligence would not reasonably anticipate that a sous chef would allegedly sexually assault and

                                                                                           3   harass another employee, thus exposing himself and TopGolf to significant civil and criminal

                                                                                           4   liability.

                                                                                           5           Finally, Plaintiff’s Opposition argues that her claims against TopGolf for intentional

                                                                                           6   conduct cannot be dismissed because her Amended Complaint states that TopGolf was aware that

                                                                                           7   Hinojosa was abusive to female employees. However, as discussed above and in TopGolf’s

                                                                                           8   Motion, Plaintiff cannot rely on bald, conclusory statements that lack any specific factual support

                                                                                           9   to defeat a motion to dismiss. In any event, reading this exception as broadly as Plaintiff suggests

                                                                                          10   would swallow the general rule and defeat the underlying purpose of the statute by imposing
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                                                                                          11   liability on an employer for any intentional misconduct of an employee, regardless of whether the

                                                                                          12   conduct was outside the scope of employment or incidental to the employer’s business or the
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                                                                                          13   employee’s tasks, as long as the employer had somehow been made “aware” of the alleged
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                                                                                          14   conduct.

                                                                                          15           Accordingly, NRS 41.745 requires that this Court dismiss Plaintiff’s Assault, Battery, False

                                                                                          16   Imprisonment, and IIED claims against TopGolf.

                                                                                          17           C.     Leave To Amend Will Change the Fate of The Tort Claims

                                                                                          18           In her Opposition, Plaintiff requests leave to amend her Complaint, again, this time to add

                                                                                          19   claims under Title VII. First, leave to amend to add Title VII claims for sexual harassment and

                                                                                          20   discrimination would not alter the outcome – dismissal – of the NIIA pre-empted tort claims, and

                                                                                          21   Plaintiff does not argue otherwise.

                                                                                          22           Second, in making this argument, Plaintiff has effectively conceded that her current,

                                                                                          23   fatally-flawed, tort-based lawsuit is actually a statutory employment lawsuit that should have been

                                                                                          24   filed in federal court.4 However, there is no way for this Court or TopGolf to assess whether leave

                                                                                          25   to amend to add the Title VII claims should be granted or not. While Plaintiff claims to have filed

                                                                                          26   a Charge of Discrimination, her response is totally devoid of any information that would establish

                                                                                          27
                                                                                               4 If leave to amend the Title VII claims is appropriate and granted, Defendant will proceed to
                                                                                          28
                                                                                               remove the case to federal court.

                                                                                                                                                9
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                                                                                           1   her Charge of Discrimination was timely, thus procedurally positioning her to proceed with the

                                                                                           2   Title VII claims. Claims involving employment discrimination under Title VII or NRS 613.330

                                                                                           3   are required to be timely administratively exhausted prior to filing suit in court. See Pope v. Motel

                                                                                           4   6, 121 Nev. 307, 311, 114 P.3d 277 (2005). A plaintiff must file a charge of discrimination with

                                                                                           5   the EEOC within 180 days of the alleged discriminatory or retaliatory act prior to filing a lawsuit,

                                                                                           6   and the deadline is extended to 300 days if the plaintiff dual-files a charge with Nevada Equal

                                                                                           7   Rights Commission (“NERC”). 42 U.S.C. § 2000e-5(e)(1); National RR Passenger Corp. v.

                                                                                           8   Morgan, 536 U.S. 101 (2002). The Opposition does not state the date Plaintiff filed her Charge of

                                                                                           9   Discrimination, the date she was issued a Notice of Right to Sue, or attach any Charge-related

                                                                                          10   documents to corroborate her claim that she timely filed her claims with an investigative agency.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                          11   Accordingly, TopGolf cannot “undoubtably know” that Plaintiff filed a timely Charge, much less

                                                                                          12   the Court. (See Opposition, 11:8.) If Plaintiff had complied with the Eighth District Judicial Court
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   Rule 2.30 and attached a copy of the proposed amended pleading with appropriate exhibits,
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14   TopGolf and this Court would not be forced to guess whether Plaintiff timely exhausted her

                                                                                          15   administrative remedies. Absent any evidence on the exhaustion issue, the Court cannot make an

                                                                                          16   informed decision about Plaintiff’s request for leave.

                                                                                          17   III.    CONCLUSION

                                                                                          18           Based upon the foregoing, TopGolf respectfully requests that the Court grant its Motion to

                                                                                          19   Dismiss in its entirety.

                                                                                          20           DATED this 21st day of May, 2019.

                                                                                          21                                         OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                          22
                                                                                                                                     /s/ Erica J. Chee
                                                                                          23                                         Suzanne L. Martin
                                                                                                                                     Nevada Bar No. 8833
                                                                                          24
                                                                                                                                     Erica J. Chee
                                                                                          25                                         Nevada Bar No. 12238
                                                                                                                                     3800 Howard Hughes Parkway
                                                                                          26                                         Suite 1500
                                                                                                                                     Las Vegas, NV 89169
                                                                                          27                                         Attorneys for Defendant TopGolf USA Las Vegas, LLC
                                                                                          28


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                                                                                               Case 2:20-cv-01871-RFB-NJK Document 14-7 Filed 11/06/20 Page 11 of 11




                                                                                           1                                     CERTIFICATE OF SERVICE

                                                                                           2          I hereby certify that, pursuant to NEFCR 9(a), I electronically transmitted the foregoing

                                                                                           3   DEFENDANT TOPGOLF USA LAS VEGAS, LLC’S REPLY IN SUPPORT OF ITS

                                                                                           4   MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT to the Clerk’s Office using

                                                                                           5   the electronic filing process for the Eighth Judicial District Court to the following registrant:

                                                                                           6          James Lee
                                                                                                      Thomas D. Boley
                                                                                           7
                                                                                                      Pursuant to Nevada Rule of Civil Procedure 5(b), I hereby further certify that service of the
                                                                                           8
                                                                                               foregoing was also made by depositing a true and correct copy of same for mailing, first class mail,
                                                                                           9
                                                                                               postage prepaid thereon, at Las Vegas, Nevada, to the following:
                                                                                          10
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                               James Lee, Esq.                                      Thomas D. Boley
                                                                                          11   Kettner Law                                          Boley & Aldabbagh
                                                                                               2150 W. Washington Street, 402                       1900 E. Bonanza Rd.
                                                                                          12   San Diego, CA 92110                                  Las Vegas, NV 89101
                                                 Suite 1500, 3800 Howard Hughes Parkway




                                                                                          13   Attorneys for Plaintiff                              Attorneys for Defendant Silvino Hinojosa
                                                         Telephone: 702.369.6800
                                                           Las Vegas, NV 89169
                                                            Wells Fargo Tower




                                                                                          14

                                                                                          15          Dated this 21st day of May, 2019.

                                                                                          16                                                       /s/ Brittany Manning
                                                                                                                                                    An Employee of OGLETREE, DEAKINS, NASH,
                                                                                          17                                                        SMOAK & STEWART, P.C.
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